Case: 2:11-cv-00228-WOB-JGW Doc #: 23 Filed: 10/18/12 Page: 1 of 1 - Page ID#: 85



                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF KENTUCKY
                             NORTHERN DIVISION
                                AT COVINGTON


 CIVIL ACTION NO. 2011-228 (WOB-JGW)

 SUSAN DONOVAN                                               PLAINTIFF

 VS.                                ORDER

 KENTUCKY EASTER SEAL SOCIETY
 INC. d/b/a Cardinal Hill
 Specialty Hospital                                          DEFENDANT



       This matter is before the Court on the Notice of settlement

 herein (Doc. #22), and the Court being advised,

       IT IS ORDERED that the within matter be, and it hereby is,

 dismissed and stricken from the docket of this Court.

       This 18th day of October, 2012.
